Case: 1:24-cv-12846 Document #: 32 Filed: 03/24/25 Page 1 of 2 PagelD #:149

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
XIAOYAN JING
CASE NUMBER: 1:24-cv-12846
v. ASSIGNED JUDGE: Judge Franklin U. Valderrama
WISDOM GATHER TRADING
COMPANY LIMITED DESIGNATED

MAGISTRATE JUDGE: Jeffrey T. Gilbert

TO: (Name and address of Defendant)

WISDOM GATHER TRADING COMPANY LIMITED
2178458975@qq.com

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Robert Dewitty, Esq
Dewitty and Associates, 1500 K Street, 2nd Floor,Rm 249B
Washington, DC 2005

an answer to the complaint which is herewith served upon you, 21 days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

Ley, ued = | March 21, 2025

(By) DEPUTY CLERK As DATE
Case: 1:24-cv-12846 Document #: 32 Filed: 03/24/25 Page 2 of 2 PagelD #:143
AO 440 (Rev, 05/00) Summons in a Civil Action

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me” March 25, 2025
TITLE
NAME OF SERVER (PRINT) Phert M. DeWitty Attorney

Check one box below to indicate appropriate method of service

Ol Served personally upon the defendant. Place where served:

O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

Ol Returned unexecuted:

(X Other (specify): | emailed notification of this case, including a copy of this summons, to defendant

at 2178458975@qq.com. A link to the documents was further to defendant

https://app.box.com/s/8cqxjvbkqbmk97aqsemrvj2gbixddylw

STATEMENT OF SERVICE FEES

TRAVEL SERVICES TOTAL

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Seryj e and correct.

March 25, 2025

Executed on

Date Signature pGfver

1500 K Street, 2nd Floor, RM 249B, Washington, D.C. 20005

Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
